   Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 1 of 21




                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK


CONTRARIAN CAPITAL MANAGEMENT,
L.L.C., CONTRARIAN CAPITAL FUND I,
L.P., CONTRARIAN DOME DU GOUTER
MASTER FUND, LP, CONTRARIAN
CAPITAL SENIOR SECURED, L.P.,
CONTRARIAN EM II, LP, CONTRARIAN
EMERGING MARKETS, L.P., POLONIUS            Case No. 19 Civ. 11018 [rel.
HOLDINGS, LLC, and CONTRARIAN               Nos. 19 Civ. 3123 & 18 Civ.
FUNDS, L.L.C.,                              11940]

                    Plaintiffs,             Hon. Analisa Torres

           v.

BOLIVARIAN REPUBLIC OF VENEZUELA,

                    Defendant.


REPLY MEMORANDUM OF THE BOLIVARIAN REPUBLIC OF VENEZUELA IN
              SUPPORT OF MOTION FOR A STAY
          Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 2 of 21




                                                   TABLE OF CONTENTS

                                                                                                                                          Page

INTRODUCTION .......................................................................................................................... 1

ARGUMENT .................................................................................................................................. 1
                     The Court Should Exercise Its Inherent Power To Stay This Proceeding. ............. 1
                     A.         The Court Has Broad Discretion to Fashion an Appropriate Stay.............. 2
                     B.         Equity Favors a Stay. .................................................................................. 5
                     A Stay Is Warranted Under Principles of International Comity and
                     Necessity. ................................................................................................................ 9
                     A.         Comity-Based Abstention Is Appropriate. .................................................. 9
                     B.         A Stay Is Justified Under the International Law Doctrine of
                                Necessity. .................................................................................................. 10
                     C.         A Stay Is Justified Because the Republic Currently Is Unable to
                                Access Resources Necessary To Perform or Settle Its Financial
                                Obligations. ............................................................................................... 14
                     A Stay Is Warranted in Light of OFAC Sanctions. .............................................. 14

CONCLUSION ............................................................................................................................. 15
         Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 3 of 21




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Aquamar S.A. v. Del Monte Fresh Produce N.A.,
   179 F.3d 1279 (11th Cir. 1999) ...............................................................................................12

Bank of New York v. Yugoimport SDPR JP,
   780 F. Supp. 2d 344 (S.D.N.Y. 2011)........................................................................................2

Catskill Mountains Chapter of Trout Unlimited, Inc. v. EPA,
   630 F. Supp. 2d 295 (S.D.N.Y. 2009)........................................................................................5

Cruz v. United States,
   387 F. Supp. 2d 1057 (N.D. Cal. 2005) ...................................................................................10

Karaha Bodas Co., L.L.C. v. Perusahaan Pertambangan Minyak Dan Gas Bumi
   Negara,
   465 F. Supp. 2d 283 (S.D.N.Y. 2006)......................................................................................15

Landis v. N. Am. Co.,
   299 U.S. 248 (1936) ...............................................................................................................1, 2

Louis Vuitton Malletier S.A. v. LY USA, Inc.,
   676 F.3d 83 (2d Cir. 2012).....................................................................................................1, 2

In re Northwestern Airlines Corp.,
    483 F.3d 160 (2d Cir. 2007).......................................................................................................3

Oliva v. Dep’t of Justice,
   433 F.3d 229 (2d Cir. 2005).....................................................................................................11

Presbyterian Church of Sudan v. Talisman Energy Inc.,
   244 F. Supp. 2d 289 (S.D.N.Y. 2003)......................................................................................12

Range v. 480-486 Broadway, LLC,
   810 F.3d 108 (2d Cir. 2015).......................................................................................................5

Samantar v. Yousuf,
   560 U.S. 305 (2010) .................................................................................................................11

SEC v. LaGuardia,
   435 F. Supp. 3d 616 (S.D.N.Y. 2020)........................................................................................2

In re Simon,
    153 F.3d 991 (9th Cir. 1998) ...................................................................................................10



                                                                   iii
          Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 4 of 21




Sosa v. Alvarez-Machain,
   542 U.S. 692 (2004) ...........................................................................................................11, 12

Sumitomo Corp. v. Parakopi Compania Maritima, S.A.,
   477 F. Supp. 737 (S.D.N.Y. 1979) ............................................................................................9

Tarros S.p.A. v. United States,
   982 F. Supp. 2d 325 (S.D.N.Y. 2013)......................................................................................11

United States v. Yousef,
   327 F.3d 56 (2d Cir. 2003).......................................................................................................12

Statutes & Rules

11 U.S.C. § 362 ..............................................................................................................................12

31 C.F.R. § 591.407 .........................................................................................................................8

Other Authorities

Argentine Necessity Case, Bundesverfassungsgericht May 8, 2007 (Ger.),
   https://www.bundesverfassungsgericht.de/e/ms20070508_2bvm000103en.htm ....................13

Cont. Cas. Co. v. Argentine Republic, ICSID Case No. ARB/03/9, Award (Sept.
   5, 2008) .............................................................................................................................10, 13

Debtwire, Venezuela Interim Government Distributes Preliminary RFP for Debt
   Reconciliation Agent (Mar. 4, 2020)........................................................................................10

Dresser-Rand Co. v. Petroleos de Venezuela, S.A.,
   No. 19-civ-02689, ECF No. 78 (S.D.N.Y. May 29, 2020) ......................................................15

Dresser-Rand Co. v. Petroleos de Venezuela, S.A.,
   No. 19-civ-02689, ECF No. 1-1 (S.D.N.Y. Mar. 26, 2019) ....................................................15

Gabčíkovo-Nagymaros Project (Hungary/Slovakia), Judgment, 1997 I.C.J. Rep.........................13

LG&E Energy Corp. v. Argentine Republic, ICSID Case No. ARB/02/1, Decision
  on Liability (Oct. 3, 2006) .......................................................................................................13

Press Release, U.S. Dep’t of Treasury, Treasury Sanctions Venezuela’s State-
   Owned Oil Company Petroleos de Venezuela, S.A. (Jan. 28, 2019) ..........................................8

August Reinisch & Christina Binder, Debts and State of Necessity, in Making
   Sovereign Financing and Human Rights Work 115 (Juan Pablo Bohoslavsky
   & Jernei Letnar Cernic eds., 2014) ....................................................................................11, 13

Beate Rudolf & Nina Hüfken, Joined Case Nos. 2 Bvm 1-5/03 & 2 Bvm 1-2/06,
   101 Am. J. Int’l L. 857 (2007) .................................................................................................13


                                                                      iv
          Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 5 of 21




Sabine Schlemmer-Schulte, Fragmentation of International Law: The Case of
   International Finance & Investment Law Versus Human Rights Law, 25 Pac.
   McGeorge Global Bus. & Dev. L.J. 409 (2012). .....................................................................13

Statement of Interest of the United States, Crystallex Int’l Corp. v. Bolivarian
    Republic of Venezuela, No. 17-mc-00151, ECF No. 184 (D. Del. June 17,
    2020) ................................................................................................................................ passim

State Responsibility, 2001 Y.B. Int’l L. Comm’n 80, U.N. Doc.
    A/CN.4/.Ser.A/2001/Add.1......................................................................................................11

Tenaris S.A. v. Bolivarian Republic of Venezuela,
   No. 18-cv-01371, ECF No. 29 (D.D.C. July 17, 2020) .....................................................14, 15

Tenaris S.A. v. Bolivarian Republic of Venezuela,
   No. 18-cv-01371, ECF No. 1 (D.D.C. June 8, 2018)...............................................................15

Trinity Investments v. Republic of Argentina,
    No. 15-cv-05886, ECF No. 88 (S.D.N.Y. July 7, 2020) ..........................................................15

U.S. Dep’t of State, Democratic Transition Framework for Venezuela (Mar. 31,
   2020) ..........................................................................................................................................4

Centro de Communicación Nacional, Guaidó: “I am ordering the transfer of
   recovered resources to PAHO and the Red Cross to fight COVID-19 and
   protect health personnel (July 15, 2020) ...................................................................................7

Centro de Communicación Nacional, President (E) of Venezuela Announces that
   This Week Begins the Registration for the Digital Wallet to Pay ‘Héroes de la
   Salud’ (June 21, 2020) ...............................................................................................................7




                                                                         v
       Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 6 of 21




                                        INTRODUCTION

                The Interim Government1 is committed to honoring all valid debts through a

consensual global restructuring of Venezuela’s bona fide debt obligations. The United States

government emphatically supports that commitment and, through OFAC’s Venezuelan sanctions

regulations, has created the conditions that would allow for such a global restructuring. But entry

of judgment in this litigation now will significantly complicate those restructuring efforts, provide

little if any benefit to Plaintiffs, and would be inconsistent with OFAC sanctions. The Republic

therefore respectfully requests a stay until democracy is restored in Venezuela and the Republic

has had a reasonable opportunity to pursue a consensual restructuring, or until OFAC sanctions

permit entry and enforcement of judgment, either through the lifting of sanctions or the granting

of a specific license.

                                           ARGUMENT

        The Court Should Exercise Its Inherent Power To Stay This Proceeding.

                Plaintiffs do not and cannot dispute that this Court has broad discretion and ample

authority to stay this proceeding. See Louis Vuitton Malletier S.A. v. LY USA, Inc., 676 F.3d 83,

96 (2d Cir. 2012) (the power “to stay proceedings is incidental to the power inherent in every court

to control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants”) (quoting Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)). It should

exercise that authority here, where the interests of the Court, human rights concerns, the foreign

policy interests of the U.S. government, and the OFAC sanctions regime all militate in favor of a

stay. While there is no strict test to determine whether a stay is appropriate, Louis Vuitton, 676


1
  Unless otherwise indicated, capitalized terms have the same meaning as in the Memorandum of
the Bolivarian Republic of Venezuela in Support of the Republic’s Motion for a Stay and in
Opposition to Plaintiffs’ Motion for Summary Judgment (“Mem.”), ECF No. 69.
       Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 7 of 21




F.3d at 99, every factor typically considered by courts in this District weighs in favor of a stay.

       A. The Court Has Broad Discretion To Fashion an Appropriate Stay

                 Plaintiffs claim that “stays must be strictly limited,” and that the Republic’s stay

request is “improper” because it is not of a finite duration.2 They are wrong on both counts. There

are no bright-line rules or “strict” limitations on this Court’s power to tailor a reasonable stay in

this and the Related Cases. Plaintiffs cite a single case, Landis v. North American Co., that

supposedly establishes these limits, but even in Landis, Justice Cardozo made clear that, while

stays must be reasonably moderate given the facts of each specific case, the boundaries of

reasonableness vary greatly depending on the circumstances. 299 U.S. at 256 (“We must be on

our guard against depriving the processes of justice their suppleness of adaptation to varying

conditions.”).

                 In practice, courts in this District can and do impose stays of indeterminate duration,

particularly where the stay implicates important questions involving foreign sovereigns. For

example, in Bank of New York v. Yugoimport SDPR JP, the district court granted a stay of

indefinite duration in an interpleader action to allow certain claimants (the Republic of Croatia and

the Republic of Slovenia) to refer their claims to a committee created by a Succession Agreement

executed by the successor states to the former Republic of Yugoslavia. 2007 WL 1378426 at *10

(S.D.N.Y. May 11, 2007). That stay remained in place for four years. Bank of New York v.

Yugoimport SDPR JP, 780 F. Supp. 2d 344, 354 (S.D.N.Y. 2011). And courts in this district have

similarly imposed indefinite stays in other circumstances. See, e.g., SEC v. LaGuardia, 435 F.

Supp. 3d 616, 622 (S.D.N.Y. 2020) (staying civil case pending completion of related criminal



2
 Plaintiffs’ Opposition to Defendant’s Motion for a Stay and Reply in Further Support of Their
Motion for Summary Judgment (“Pls.’ Opp.”), ECF No. 70, at 2.


                                                   2
       Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 8 of 21




proceeding); In re Northwestern Airlines Corp., 483 F.3d 160, 168 (2d Cir. 2007) (authorizing

court to enjoin union’s self-help against bankrupt airline until “every reasonable effort” at reaching

an agreement had been exhausted).3

               The stay sought by the Republic here, while indefinite in duration, is not unlimited,

and is closely tailored to the extraordinary circumstances facing Venezuela: Plaintiffs cannot

dispute the unprecedented political, humanitarian, and economic crises occurring in Venezuela,

nor the existence of OFAC sanctions, all of which prevent the Republic from settling its external

debt or pursuing a restructuring at this time. Instead, Plaintiffs attempt to cast doubt on the

Republic’s intention to pursue a restructuring and on the U.S. government’s support of the

Republic and its eventual restructuring efforts. (Pls.’ Opp. at 3, 4.) Both suggestions are meritless.

Since January 2019, the Interim Government has repeatedly and unequivocally affirmed that “it

shall be the policy of [the Interim Government] to proceed with an orderly and consensual

renegotiation of legacy private claims as soon as practicable” after the Maduro regime has ended

and the United States lifts economic sanctions, and has laid out the principles that will guide it in

doing so.4 And the United States has been unwavering in its support for the Interim Government



3
 See also Reply Memorandum of the Bolivarian Republic of Venezuela in Support of Cross-
Motion for a Stay (“Related Case Reply”) at 7, Pharo Gaia Fund Ltd. et al. v. Bolivarian
Republic of Venezuela, No. 1:19-cv-03123, ECF No. 52 (S.D.N.Y. Mar. 3, 2020); Casa Express
Corp. v. Bolivarian Republic of Venezuela, No. 1:18-cv-11940, ECF No. 73 (S.D.N.Y. Mar. 3,
2020) (gathering cases).
4
  See Office of the Special Attorney General of the Bolivarian Republic of Venezuela,
Guidelines for the Renegotiation of the Chávez/Maduro Era Legacy Public External Debt 1 (July
1, 2019) (“Guidelines”), attached as Ex. A to Declaration of Joseph E. Neuhaus (the “Neuhaus
Decl.”); see also Memorandum of Law in Support of Bolivarian Republic of Venezuela’s Motion
for Relief Under Federal Rule of Civil Procedure 60(b) at 2, Crystallex Int’l Corp. v. Bolivarian
Republic of Venezuela, No. 17-mc-00151, ECF No. 184 (D. Del. June 17, 2020), (“[T]he Guaidó
Government is committed to a process for global restructuring of Venezuela’s debt
obligations.”).


                                                 3
       Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 9 of 21




and its efforts to restore democracy in Venezuela, including in its recent Statement of Interest (the

“U.S. Statement of Interest”) filed in the Crystallex matter proceeding before Chief Judge Stark in

the District of Delaware.5 In the U.S. Statement of Interest, the government reiterated that “U.S.

policy toward Venezuela is to support the full restoration of democracy,” and that “[t]he United

States has strong foreign policy and national security interests in supporting the interim

government’s efforts to reconstruct the Venezuelan economy following the departure of Maduro.”

U.S. Stmt. of Interest at 3. To that end, the State Department recently proposed a “Democratic

Transition Framework” to resolve the political crisis in Venezuela.6 The framework also lays out

“a viable pathway for lifting Venezuela-related U.S. sanctions.” U.S. Stmt. of Interest at 3. And,

as the government explained, “U.S. government agencies are planning for exactly this.”7

               In light of those interests, and while reaffirming that it was “not suggesting that

Venezuela should be permitted to avoid payment of its lawful obligations[,]” the government urged

Judge Stark not to proceed with establishing procedures for a sale of shares of one of Venezuela’s



5
 See Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, No. 17-mc-00151, ECF No. 212
(D. Del. July 16, 2020), attached as Neuhaus Decl. Ex. B.
6
  See U.S. Dep’t of State, Democratic Transition Framework for Venezuela (Mar. 31, 2020),
https://www.state.gov/democratic-transition-framework-for-venezuela/. Rather than cite to this
framework, Plaintiffs misconstrue an article authored by Special Representative for Venezuela
Elliot Abrams as evidence that “the U.S. government does not even support the Republic taking
power.” (Pls.’ Opp. at 3 (citing Elliot Abrams, A New Path to Venezuelan Democracy, Wall. St.
J. (Mar. 31, 2020).) That is incorrect. As Mr. Abrams explains in that article, the framework
itself, which calls for free and fair elections in Venezuela, was first proposed by “the team
representing Mr. Guaidó and the National Assembly” as a “path forward toward the restoration
of democracy.” Abrams, supra, at 1. And, in any event, the Republic has not requested a stay
until Mr. Guaidó gains control in Venezuela, but rather until restoration of democratic rule.
7
  U.S. Stmt. of Interest at 3 (citing U.S. Dep’t of Commerce, Remarks by U.S. Commerce Sec.
Wilbur L. Ross at the Venezuelan Infrastructure Breakfast in Brasilia, Brazil (Aug. 1, 2019)),
https://www.commerce.gov/news/speeches/2019/08/remarks-us-commerce-secretary-wilbur-l-
ross-venezuela-infrastructure).


                                                 4
      Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 10 of 21




state-owned entities even though the creditor, Crystallex, had obtained a writ of attachment on

those shares. Id. at 13 (stating that “matters of equity militate against” proceeding at this time

“given the delicate and evolving political situation in Venezuela, the U.S. foreign policy and

national security interests that are implicated, and the related economic sanctions”). For these

same reasons, this Court should stay the proceedings here.

               As noted in the Republic’s opening brief, the Court could additionally require the

parties to report periodically with respect to whether the conditions supporting the stay remain.

(Mem. at 18 n.35.) Alternatively, if the Court is inclined to impose a stay of a finite period, the

Republic respectfully suggests 120 days. See Related Case Reply at 8.

       B. Equity Favors a Stay.

               In weighing whether to exercise its discretion to stay a matter on its docket, a district

court should “examine the particular facts before it and determine the extent to which . . . a stay

would work a hardship, inequity, or injustice to a party, the public or the court.” Range v. 480-

486 Broadway, LLC, 810 F.3d 108, 113 (2d Cir. 2015) (internal quotation marks and citation

omitted). Each factor this Court typically considers weighs in favor of a stay here. See Catskill

Mountains Chapter of Trout Unlimited, Inc. v. EPA, 630 F. Supp. 2d 295, 304 (S.D.N.Y. 2009)

(describing factors).

               1. A Stay Would Not Prejudice Plaintiffs.

               Plaintiffs concede that neither they, nor any other creditor, will be able to enforce

a judgment against the Republic without a special license from OFAC. Plaintiffs do not dispute

that they have not even sought such a license. Instead, they claim they are prejudiced vis-á-vis

other creditors because “creditors with judgments may still apply for specific licenses” and some

“have already begun the application process.” (Pls.’ Opp. at 6.) But nothing prevents Plaintiffs

from seeking a specific license from OFAC now. Indeed, if Plaintiffs wish to proceed to judgment


                                                  5
      Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 11 of 21




now, they can and should approach OFAC to request a specific license to do so. See Related Case

Reply at 2 (arguing that the Court should not enter a judgment for the Pharo Plaintiffs unless and

until they produce an OFAC license). A stay would neither impede Plaintiffs from seeking a

license, nor prevent them from moving to lift a stay should they receive one.

                2.   Allowing This Case To Proceed Would Cause Tremendous Harm to the
                     Republic.

                By contrast, allowing this case to proceed would cause irreparable harm to the

Republic and the people of Venezuela by inviting an avalanche of additional proceedings that will

significantly challenge an eventual restructuring. Plaintiffs do not dispute that allowing this case

to proceed will lead to an onslaught of other proceedings, but argue only that “[b]eing required to

defend litigation, by itself, is not the sort of clear hardship or inequity that justifies a stay.” (Pls.’

Opp. at 7.) But the Republic is not seeking a stay merely to avoid litigation costs. Rather, the

Republic seeks a stay here to avoid a “run on the bank” by other creditors jostling for a leg up in

the restructuring and the resultant difficulty presented to any attempt to resolve competing claims

in various stages of judicial resolution. Just as national bankruptcy proceedings stay litigation

until an equitable arrangement of creditors can be worked out, the courts, the debtor and all

claimants are best served by a temporary pause in litigation to allow for a fair distribution of

available assets.

                Plaintiffs argue that devoting the Republic’s scarce resources on litigation rather

than humanitarian relief “will have no effect on the Republic’s ability to address problems” in

Venezuela because “the Republic does not control Venezuela.” (Id. at 8.) That is wrong, and

underestimates the ingenuity of the Interim Government. The Interim Government has, for

example, recently announced that, after “many weeks of effort,” it has arranged to use blocked

funds of the Republic outside Venezuela to provide aid to health workers fighting the coronavirus



                                                   6
      Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 12 of 21




pandemic in Venezuela in partnership with the Pan American Health Organization (“PAHO”) and

the American Red Cross.8 The Republic is also currently working on a “Health Heroes” Plan,

which would similarly provide funds to doctors, nurses, and other health workers employed by

Venezuelan public hospitals.9

               Plaintiffs are also wrong that only enforcement, and not entry, of judgment would

spark a scramble for the Republic’s assets. Plaintiffs clearly see an advantage in obtaining a

judgment, in particular because of their contention that the entry of judgment will nullify

Venezuela’s rights under the collective action clauses of the bonds. (Pls.’ Opp. at 22.) There is

little doubt that, if this and the Related Cases proceed to judgment, many more creditors will feel

compelled to press their claims against the Republic, which will undoubtedly complicate an

orderly restructuring.

               3. A Stay Would Preserve Valuable Judicial Resources.

               Entry of judgment here would also waste valuable judicial resources by inviting

ever more cases from creditors who, like Plaintiffs here, will seek to secure judgments they cannot

in any event enforce. It would hardly be efficient for this Court to “dispose of up to three cases on

[its] docket” (Pls.’ Opp. at 9), while inviting countless others.10 Such piecemeal litigation would



8
  See Centro de Communicación Nacional, Guaidó: “I am ordering the transfer of recovered
resources to PAHO and the Red Cross to fight COVID-19 and protect health personnel” (July
15, 2020), https://presidenciave.com/presidency/guaido-i-am-ordering-the-transfer-of-recovered-
resources-to-paho-and-the-red-cross-to-fight-covid-19-and-protect-health-personnel/.
9
  See Centro de Communicación Nacional, President (E) of Venezuela Announces that This Week
Begins the Registration for the Digital Wallet to Pay ‘Héroes de la Salud’ (June 21, 2020),
https://presidenciave.com/presidency/president-e-of-venezuela-announces-that-this-week-begins-
the-registration-for-the-digital-wallet-to-pay-heroes-de-la-salud/.
10
   Plaintiffs blatantly mischaracterize the Republic’s argument in asserting that entering
judgment would not “require devotion of resources to discovery” because discovery in this case
is already complete. (Pls.’ Opp. at 9.) The Republic expressly stated that “each additional case

                                                 7
      Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 13 of 21




be far less efficient than a comprehensive, consensual restructuring.

               A stay would also allow the Court to ensure that it does not grant Plaintiffs relief

that OFAC has forbidden them from obtaining. See infra at 15; Mem. at 18-24. Thus, at a

minimum, the Court should stay this litigation unless or until Plaintiffs demonstrate that they have

received a specific license from OFAC to proceed.

               4. A Stay Promotes Non-Party Humanitarian and Public Interests.

               A stay would also further the interests of the United States, which has imposed

sanctions with the express purpose of “preserv[ing] these assets for the people of Venezuela.”11 In

the face of the U.S. government’s clear statements, Plaintiffs contend that a stay would conflict

with the United States’ generalized interest “in ensuring the . . . enforceability of foreign debts

owed to United States lenders.” (Pls.’ Opp. at 9 (citing Pravin Banker Assocs., Ltd. v. Banco

Popular Del Peru, 109 F.3d 850, 855 (2d Cir. 1997)).) But the Executive Branch has already

resolved these competing interests and has determined that its national security and foreign policy

interests are best served by barring actions that would affect the Republic’s interests in blocked

property and the enforcement of any judgments against the Republic. See 31 C.F.R. § 591.407.

As the government recently reiterated, the United States has “strong foreign policy and national

security interests in supporting the interim government’s efforts to reconstruct the Venezuelan

economy following the departure of Maduro.” U.S. Stmt. of Interest at 3.

               Importantly, entering a stay would not, as Plaintiffs suggest (Pls.’ Opp. at 10),




will require devotion of resources to discovery and evaluation,” not this one. (Mem. at 11
(emphasis added).) Plaintiffs offer no response to the argument the Republic actually made.
11
  Press Release, U.S. Dep’t of Treasury, Treasury Sanctions Venezuela’s State-Owned Oil
Company Petroleos de Venezuela, S.A. (Jan. 28, 2019), https://home.treasury.gov/news/
pressreleases/sm594 (“Treasury Sanctions Venezuela’s State-Owned Oil Company”).


                                                8
      Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 14 of 21




permit Venezuela to avoid its valid obligations. The Republic has never sought to repudiate its

valid debts, and certainly is not doing so by seeking a stay of this litigation. Rather, the Republic

seeks only the time necessary to move forward with a consensual restructuring that will make good

on its debts while also creating a path to recovery and economic prosperity for its people.

        A Stay Is Warranted Under Principles of International Comity and Necessity.

                As the Republic observed in the Related Case briefing, “the Republic faces an

unparalleled humanitarian and economic crisis; a dictator who will not leave; and U.S. government

sanctions to address what two Presidents from different parties have deemed ‘an unusual and

extraordinary threat to the national security and foreign policy of the United States.’” (Related

Case Reply at 12 (citing Exec. Order No. 13692, 80 Fed. Reg. 12,747 (Mar. 8, 2015) and Exec.

Order No. 13884, 84 Fed. Reg. 38,843 (Aug. 7, 2019).) Given these exceptional circumstances, a

stay is also justified under principles of international comity and the customary international law

doctrine of necessity.

        A. Comity-Based Abstention Is Appropriate.

                Like the plaintiffs in the Related Cases, Plaintiffs here contend that comity cannot

apply because the Republic has not yet begun its debt restructuring. (Pls.’ Opp. at 10-11.) But

Plaintiffs identify no authority outlining such a bright-line rule, relying instead on citations to

inapposite cases that bear no resemblance to the question presented here. For example, in

Sumitomo Corp. v. Parakopi Compania Maritima, S.A., a private defendant sought a stay or

dismissal of a proceeding in the Southern District of New York “in deference to [a] pending

litigation in Greece.” 477 F. Supp. 737, 741 (S.D.N.Y. 1979). But unlike here—where the

democratically elected Venezuelan National Assembly has publicly committed to a debt

restructuring, laid out the principles that will guide it in that process, and solicited proposals for a




                                                  9
      Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 15 of 21




reconciliation agent12—the Greek litigation had not proceeded beyond “the filing of a complaint.”

477 F. Supp. at 742. And in Cruz v. United States, the defendants sought dismissal of claims

pending in the United States based on a pending investigation in Mexico, not a temporary stay

such as the Republic seeks here. 387 F. Supp. 2d 1057, 1070 (N.D. Cal. 2005).13

               Likewise, the mere fact that U.S. policy in general “favors enforcing debts owed by

foreign debtors to U.S. lenders” (Pls.’ Opp. at 12) is beside the point here, where, as discussed

above, the U.S. government has affirmatively and unambiguously taken action to protect the

Republic’s interests in blocked property and has repeatedly expressed its support for the Interim

Government and its restructuring efforts. See, e.g., U.S. Stmt. of Interest at 3.

       B. A Stay Is Justified Under the International Law Doctrine of Necessity.

               The extraordinary challenges facing the Republic also justify a stay under the

customary international law doctrine of necessity, which offers a state “flexibility in the

application of international obligations” in light of the “necessity to protect national interests of a

paramount importance” that “may justify setting aside or suspending an obligation.” Cont. Cas.

Co. v. Argentine Republic, ICSID Case No. ARB/03/9, Award, ¶ 168 (Sept. 5, 2008). That

flexibility does not permanently extinguish liability, but rather allows a state to temporarily defer




12
   See Guidelines, Ex. A (setting forth principles for restructuring); Debtwire, Venezuela Interim
Government Distributes Preliminary RFP for Debt Reconciliation Agent (Mar. 4, 2020),
https://www.debtwire.com/intelligence/view/prime-2996157?searchTerm=venezuela.
13
  Likewise, in In re Simon, 153 F.3d 991 (9th Cir. 1998), a creditor argued that considerations of
comity supported a modification of an injunction issued by the U.S. bankruptcy court to allow
the creditor to pursue litigation in Hong Kong against the debtor. The Simon court concluded
that international comity did not require it to discharge an injunction that “[did] not apply to the
Hong Kong courts at all.” Id. at 999. That decision bears no relevance here, where a foreign
sovereign that is recognized and supported by U.S. courts seeks a temporary stay in order to
proceed with a restructuring for which the U.S. government has expressed unequivocal support.


                                                  10
      Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 16 of 21




its financial obligations.14

                Plaintiffs raise three arguments against the applicability of the necessity doctrine,

none of which is persuasive. First, the Court does not lack authority to apply international law

here. (Pls.’ Opp. at 13.) Plaintiffs’ own cited cases confirm what U.S. courts repeatedly have

affirmed “[f]or two centuries,” namely, that “the domestic law of the United States recognizes the

law of nations.” Sosa v. Alvarez-Machain, 542 U.S. 692, 729-30 (2004); Tarros S.p.A. v. United

States, 982 F. Supp. 2d 325, 338 n.12 (S.D.N.Y. 2013) (“Even after Erie, ‘[i]nternational law is

part of our law, and must be ascertained and administered by the courts of justice of appropriate

jurisdiction, as often as questions of right depending upon it are duly presented for their

determination.’”) (citing Sosa, 542 U.S. at 730). And, while Congress certainly can “preclude the

application of customary international law to a particular situation ‘by treaties or statutes that

occupy the field,’” Oliva v. Dep’t of Justice, 433 F.3d 229, 234 (2d Cir. 2005) (citing Sosa, 542

U.S. at 731), it has not done so here. To the contrary, the Supreme Court has recognized that a

purpose of the FSIA was “codification of international law at the time of the FSIA’s enactment,”

and therefore has “examined the relevant common law and international practice when interpreting

the FSIA.” Samantar v. Yousuf, 560 U.S. 305, 320 (2010) (citing Permanent Mission of India to

United Nations v. City of New York, 551 U.S. 193, 199 & 200-01 (2007)). This Court should do



14
  See State Responsibility, 2001 Y.B. Int’l L. Comm’n 80, available at https://legal.un.org/ilc
/publications/yearbooks/english/ilc_2001_v2_p2.pdf (noting that the necessity doctrine applies in
“those exceptional cases where the only way a State can safeguard an essential interest . . . is, for
the time being, not to perform some other international obligation” (emphasis added)); see also
August Reinisch & Christina Binder, Debts and State of Necessity, in Making Sovereign
Financing and Human Rights Work 115, 124 (Juan Pablo Bohoslavsky & Jernei Letnar Cernic
eds., 2014); available at https://deicl.univie.ac.at/fileadmin/user_upload/i_deicl/VR/VR_
Personal/Reinisch/Publikationen/DebtsstateNecessity_Bohoslavsky_2014.pdf (“A state of
necessity brings temporary relief in the form of a suspension of the wrongfulness of non-
payment, but not cancellation or partial cancellation of the original obligation.”).


                                                 11
      Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 17 of 21




the same.

               In particular, the FSIA’s objective of holding foreign sovereigns “liable in the same

manner and to the same extent as a private individual under like circumstances” should be

interpreted in light of international standards, and the temporary relief afforded by the doctrine of

necessity is fully consistent with that objective. Cf. United States v. Yousef, 327 F.3d 56, 93 (2d

Cir. 2003) (courts cannot disregard customary international law on the basis of “ambiguous or

‘general’” statutory language). Affording the Republic a stay to pursue a debt restructuring would

as a practical matter put the Republic on similar footing to private individuals who, unlike foreign

sovereigns, can avail themselves of bankruptcy statutes and the automatic stays they provide. See

11 U.S.C. § 362. It is also fully consistent with the approach adopted by the Executive branch,

which Plaintiffs concede prevents them from executing on any judgment. (Pls.’ Opp. at 8 (“OFAC

regulations bar judgment enforcement without a specific license.”).) Under these circumstances,

the Court can and should draw on international law in staying these proceedings.15

               Second, Plaintiffs are wrong that the “‘necessity’ defense is not part of international

law.” (Pls.’ Opp. at 15.) Its place in customary international law has long been recognized by the




15
  Plaintiffs incorrectly contend that, as a general matter, international law can be recognized in
U.S. courts only if the party seeking to introduce it can demonstrate that the norm is “specific,
universal, and obligatory.” (Pls.’ Opp. at 14 (citing Sosa, 542 U.S. at 732).) That standard has
been applied only in the context of determining which causes of action are cognizable under the
Alien Tort Statute, see Sosa, 542 U.S. at 732, but Plaintiffs cite no authority that it is a universal
requirement for recognition of international law more generally. Rather, U.S. courts regularly
pursue the recognized methods of determining international law, with no heightened standards of
proof. See, e.g., Aquamar S.A. v. Del Monte Fresh Produce N.A., 179 F.3d 1279, 1295 (11th
Cir. 1999) (“We look to a number of sources to ascertain principles of international law,
including international conventions, international customs, treatises, and judicial decisions
rendered in this and other countries.”); Presbyterian Church of Sudan v. Talisman Energy Inc.,
244 F. Supp. 2d 289, 304-05 (S.D.N.Y. 2003) (listing “authoritative” sources).


                                                 12
      Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 18 of 21




International Court of Justice and other tribunals,16 and it has been codified by the U.N.

International Law Commission in its Articles on State Responsibility. See also Reinisch & Binder,

supra n.14, at 115-16 (necessity doctrine is a “state responsibility concept developed by

international jurisprudence as a rule of customary international law”).

               Third, as set out in the Related Case Briefing, the necessity doctrine can apply to a

sovereign’s obligations to other states and to private parties alike. (See Related Cases Reply at

16.) Plaintiffs’ only authority stating otherwise – the German Federal Constitutional Court’s

divided decision in the Argentine Necessity Case,17 – has been widely dismissed by scholars as

“unpersuasive”18 and made “in complete ignorance of long-standing practice for over three

decades.”19 See Reinisch & Binder, supra n.14, at 118 (describing decision as “widely criticized,

not only by an outspoken dissenter on the Court itself, but also by many commentators.”).20



16
  See, e.g., Gabčíkovo-Nagymaros Project (Hungary/Slovakia), Judgment, 1997 I.C.J. Rep., 7, ¶
51 (“the state of necessity” is “recognized by customary international law”); Cont. Cas. Co,
ICSID Case No. ARB/03/9, Award at ¶ 168; LG&E Energy Corp. v. Argentine Republic, ICSID
Case No. ARB/02/1, Decision on Liability, ¶ 246 (Oct. 3, 2006).
17
   BVerfG, 2 BvM 1-5/03, 1, 2/06, May 8, 2007,
https://www.bundesverfassungsgericht.de/e/ms20070508_2bvm000103en.html.
18
  Beate Rudolf & Nina Hüfken, Joined Case Nos. 2 Bvm 1-5/03 & 2 Bvm 1-2/06, 101 Am. J.
Int’l L. 857, 859–60, 862–64 (2007).
19
  Sabine Schlemmer-Schulte, Fragmentation of International Law: The Case of International
Finance & Investment Law Versus Human Rights Law, 25 Pac. McGeorge Global Bus. & Dev.
L.J. 409, 413 (2012).
20
   Plaintiffs’ final two arguments, (Pls.’ Opp. at 16-17), are also unpersuasive. The “grave and
imminent peril” facing the Republic is not entry of judgment in this and the Related Cases, but
the extraordinary economic and humanitarian disaster gripping Venezuela. And Plaintiffs are
also incorrect that, “by selecting New York law, the Bonds and FAAs exclude the possibility of
invoking defenses under . . . international law.” (Pls.’ Opp. at 17.) As explained in the Related
Case briefing, because “international law . . . is federal law” it “supersedes inconsistent State
law.” (Related Case Reply at 15 (alterations and emphasis in original).)


                                                13
      Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 19 of 21




       C. A Stay Is Justified Because the Republic Currently Is Unable to Access
          Resources Necessary To Perform or Settle Its Financial Obligations.

               Plaintiffs do not dispute that the Republic lacks the resources it would need to

perform or settle its debts at this time. Instead, they emphasize that, as a matter of New York

contract law, a party’s inability to pay its debts does not excuse liability on the merits. (Pls.’ Opp.

at 17.) But that is beside the point. The Republic is not seeking to be excused from liability; it is

requesting a temporary stay of this litigation while it is unable to access the money that would be

needed to settle its financial obligations and reach a consensual resolution with its external

creditors. Such a stay is amply justified here.

       A Stay Is Warranted in Light of OFAC Sanctions.

               As explained in the Republic’s opening brief, Plaintiffs seek through a judgment

here to alter the Republic’s interest in the CACs and other contract provisions of the Bonds. (Mem.

at 23-24.) OFAC sanctions bar any such judgment. (Id.) Accordingly, the Court can and should

deny summary judgment on that basis alone. Alternatively, the Court could avoid ruling on these

difficult issues by staying the litigation until Plaintiffs come forward with a specific license

authorizing them to obtain a judgment that alters Venezuela’s interest in the Bonds. That

procedure would properly place these important questions of foreign policy and national security

before the Executive Branch. Cf. U.S. Stmt. of Interest at 9 (interpretive question concerning

OFAC sanctions “implicate[d] significant U.S. foreign policy and national security interests that

are rightly before the Executive Branch in the Crystallex license application”). Such a stay would

not prejudice Plaintiffs, who could not enforce a judgment without an OFAC license in any event.

               Nor would a stay be inconsistent with judgments entered in other cases against the

Republic under sanctions currently in force. Plaintiffs cite to two such decisions, Tenaris S.A. v.

Bolivarian Republic of Venezuela, No. 18-cv-01371, ECF No. 29 (D.D.C. July 17, 2020), and



                                                  14
      Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 20 of 21




Dresser-Rand Co. v. Petroleos de Venezuela, S.A., No. 19-civ-02689, ECF No. 78 (S.D.N.Y. May

29, 2020), and claim that, “under the Republic’s theory,” those judgments “would violate OFAC

sanctions” merely because they are money judgments. (Pls.’ Opp. at 18-19 & n.6.) That grossly

mischaracterizes the Republic’s position21: the Republic certainly does not contend that any

judgment awarding money damages to a creditor of the Republic violates OFAC sanctions.

Rather, the judgment Plaintiffs seek here would, by their own theory, extinguish the Republic’s

interest in certain of the contract provisions of the Bonds, such as the CACs. No similar

circumstances were present in Tenaris, which was an action to confirm an arbitral award, nor

Dresser-Rand, which involved a note rather than a bond and therefore did not contain any CACs

or similar provisions. See Tenaris, 18-cv-01371, ECF No. 1 (June 8, 2018); Dresser-Rand, 19-cv-

02689, ECF No. 1-1 (Mar. 26, 2019).22

                                         CONCLUSION

               For the foregoing reasons, the Court should grant the Republic’s motion for a stay

and deny the Plaintiffs’ motion for summary judgment.



21
  Plaintiffs further claim (incorrectly) that “[u]nder the Republic’s theory, no creditor could ever
sue without violating the collective-action clauses.” (Pls.’ Opp. at 22.) But the problem here is
not the enforceability of the CACs, but rather OFAC sanctions that block the property at issue
and bar Plaintiffs from seeking a self-executing judgment that alters the Republic’s interests in
that blocked property.
22
   Plaintiffs also urge the Court, if it declines to order a stay, not to establish fraud and error
prevention mechanisms upon entry of judgment, but fail entirely to acknowledge that courts in
this district have routinely included such a mechanism under similar circumstances. See, e.g.,
Judgment, Trinity Investments v. Republic of Argentina, No. 15-cv-05886, ECF No. 88
(S.D.N.Y. July 7, 2020). Courts have ample power to protect the integrity of their own
judgments. See, e.g., Karaha Bodas Co., L.L.C. v. Perusahaan Pertambangan Minyak Dan Gas
Bumi Negara, 465 F. Supp. 2d 283, 295 (S.D.N.Y. 2006) (granting anti-suit injunction and
noting that, “a court may freely protect the integrity of its judgments by preventing their evasion
through vexatious or oppressive relitigation” (quoting Laker Airways Ltd. v. Sabena Belgian
World Airlines, 731 F.2d 909, 928 (D.C. Cir.1984)).


                                                15
     Case 1:19-cv-11018-AT-KNF Document 71 Filed 08/10/20 Page 21 of 21




Dated: August 10, 2020



                                          SULLIVAN & CROMWELL LLP

                                          /s/ Joseph E. Neuhaus
                                          Joseph E. Neuhaus
                                          Sergio J. Galvis
                                          James L. Bromley
                                          125 Broad Street
                                          New York, New York 10004
                                          Telephone: (212) 558-4000
                                          Facsimile: (212) 558-3588
                                          neuhausj@sullcrom.com
                                          galviss@sullcrom.com
                                          bromleyj@sullcrom.com

                                          Angela N. Ellis
                                          SULLIVAN & CROMWELL LLP
                                          1700 New York Avenue, N.W. Suite 700
                                          Washington, D.C. 20006-5215
                                          Telephone: 202-956-7500
                                          Facsimile: 202-293-6330
                                          ellisan@sullcrom.com

                                          Attorneys for Defendant Bolivarian Republic of
                                          Venezuela




                                     16
